 

Jnhn VIL.LANUEVA

'___....--" City M`arsha| - B'.ldge #36 f[]{}] OC-r `9 Pl_
Cil_v l)chw York f
384 Esast l-Hlth Strcel Suitc 312 `
Brcmx, NY 104$5 `-" .`".'.'J`. \

(7'13) 402-3100 ‘ " eT`

h éw@z§

Warrant Requisition

 

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CD““\¥ mme, Nv
lr\dmi Nn. 57149!07 l Mar$ha|s Duckcl HIII|Q
l'\:£ilium:\'$ licspondent{s)
URONX \’ARK. EAS'T, LLC ()$HEA HUNTER
AddrB$E
APT: N}l

 

2322 R`RGNX I’ARK EAST
BR(JNX N‘l' ll]»l`li'l

 

 

 

 

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Comments:
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.l'ulul Vll,.l..ANUEVA
City Marsha| » .B:\dgt~ #36
City of Ncw Yr)rk
384 East l49th Strent Suitl: 312
Hronx. NY 10455
(713) 402-310(]

 

Warrant Requisition

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

county nncmx_. NY
Indr:x No. 57149¢'0'7 Marslm[s Duckct 182218
Pctiiinner$ llcspondent(s}
BRONX PARK EAST, LLC RAYMOND GRANI)IS()N
Addres$
AI'T: NJZ
2322 BRQNK PARK F.;\s'r'
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DEF !§'] m m Res L`~fl Com ff..

vuP :;;] mo ij

Commonts:

 

 

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Daiea 10!1!2007 Jc)hn VJLLANUEVA. Cily Marshal

 

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WII_. cOuRT OF THH c:l‘rv cup NEW Y-ORK
` COUNT`Y OF BRC)NK
l ` Index Nc:, 57149£07

 

BIZONK PARK EAST, I_.LC

Pelitioner REQUEST
l'-`OR
-against- l"I`NAL. ORDER
R.AYMUND GRANDISC) Rc$pondgnt
”Fc:nant
x

 

To the clerk 0{"1|1¢;: Civil Cmu“l nftl\e City of`New York

YOU ARE l-'IEREBY` REQUESTED T'O SUBMIT Tl--IE. PAPERS IN THE ABOVE.
ENTITLED PROCEEDING ’T`C) 'I`HE JUDGE FGR A l"lNAL ORDER

DATED: 10/1!2007

-CO.HEN AND`:ESTI`JYK, Ll..P A'I`TCJRNEY AT LAW
1325 CA TLE HILL AVENUE

BRONX, NY 10462

 

Page 3

 

Cas "':L:16-cv-02134-ALC Docomenrae-zo r=iled 03/18/17 Page4or 24
/"

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;i`li`. Cl"[`\' DF NEW YDRK
L di T Irrtle.t: No. 57149!0'7

    

="""':51' LLC Lorrdiord
Agein.rr
` " Rr,*,rportdert(
MOND GRANB!SGN Tenerr! 2322 BRONX P_ARK EAST Apt NBZ
HRONN N'r' lUdo'Y
Terrcnrr

Une'er'terrem

STATE OF Ni”,-ZW Y()th‘. C()UNTY OF Bronrr

Naftatl Levenbrown being duly s\vortt, deposes and says that g_@jho is the agent for the petitioner herein and is iitl|y familiar
with all the facts. 'i`hat this is a summary proceedingfaetion which the respon ent (S)/r:let`endant (S) was served hot failed to answeri l made
several attempts to question the tenant, any blood relative or neighbor in order to he able to submit this affidavit that the tenant was not in

lite rttililnry servit:t_: er dependent on someone i.n tire military serviee.

et approximately a.nt.fp.nt. at
(rrante) who is

approximately (description) advised me that lie/site is not in the military service of the United
States and the State ot” New Yorlt in any carraeit;».'.l and the tenent(s`) informed me that neither hershe nor anyone in the family is dependent
on any person in the military service of the United States.

2) l seol:e to (nante) RA\'MPND `RANWSQN directly ever the phone by calling number
®idenrified hersei@s re
me rs sh

1) I spoke in person with tire tenant(s) on
(location). The tenant(s)

 

 

 

 

( ’]lii )_qt"i§- ' 'S"'i lois on C'i`\a.h qu_ at approximately Mn.nt_/ .rn Sbe

'l`he tenant, during that p tone eall, advised

tenant. l recognized the voice esi have hud prior conversations with her
rne that neither sh@ nor anyone in the tenant's family is

is not in the military service of'the l,]nited Stnies. "l`hr: lettiml also ittl`t)rtttt: `
dependent nn any person in the military service ortho Uni(ed States.

 

 

 

3) l could not locate anybody to speak with consenting the tenant(s) military steiner I called at a.rn.lp.m on
and again on . Artcl there was no answer. l went to the premises located
at Apt. # on ```````` w and again on wm “““““““““““““““““ and no
one was ltonre. l;iesed upon my records and the tenant with whom l am fantilinr, the tenarn(s) is/are:
{s) approximately years ol` age;

{`h) disabled and uses a wheelchairs!cruehtesfother '.
(e) receives public assistanee;
(d) see application, recertification form attachedF

From the l’ects set forth, l ant conviced that the tenant(s) is not in or financially dependent en someone in the military service of the

Uttil.ed States at the present time,

._ _ _ v esr"` ri`i`siiiis}swn
bworn before me tins tsl gay Ot Oeto|ter, 2007
Signetnre of investigator

l‘~intnry Publ'rt:

 

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nominee in Etrenx Cm.cnty
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;:"' eounrv ot= senior rear ioneiisnrue$§edi iii
' DEClSlGN AND JUDGMENT

"'\C£>i”\ (QO~. sf

Petitioner{el

BRONX PARK EAST, LLC,

AGAiNST
GRANDISON, RAYMOND
HUNTER, OSHEA.
Rospc>riciortt. (Sl

 

 

l Deeision and ludgnment ls rendered based upon
a stipulation entered into y the parties as foilows:
Judgment of possession is granted in favor of:
BRONX PARK EnST. LLC,
and against
HuNTEn, osHEA
A counterclaim is granted in favor of the res cogent in the amount ot d $0.00

(Wl'iiel'i ii not being entered soper-a ely is offset and reflected m the
total amount due, listed below.)

A money judgment is hereby granted along with cost end disbursements
iri the amount of $0.00 in favor of:
ancient PARK Ens'r, LLC',
and against
HUNTER, CJSHEI'-t

for a total amount of $4305.42

(Monthiy use end occupancy is set at' $0.00 per month, as per ordar,
stipulation or decision in record.)

 

 

 

 

Warrant to issue forthwith E)tecutlon ul}f__€ §
HON. mentions onsit';r
E
Deie ...('i..iiz"‘£.)_el_ n s
Judge, .Griii|!l~"iousing Court ‘#"

Soetion 5020(e) of the Givi| Praetiea t.aw and Fiu|es requires that a satisfaction bottled with the
clerk when the judgment is satisfied Fai|ure to do so subjects the judgment creditor to penalties

"“"_"__ === ..._...-I"""_TE"'_

ENTRY GF JUDGMENT id /`/;
Judgment entered in accordance with the above on 67 bd / 0 7 . c" \:)G?"Q'V'
' ' Chief C|erl<, Civil Court

Warrant issued to Marsha| i)l l lai/l(/€l/Q on w 15 wm

eiv-LT-sciaooe) sane t orr

 

 

 

 

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" NlL COURT OF THE ClT"i’ OF N YORK lNoEx # 057149/200?

j COUNTY OF BRDN)( PART succusi~n' sect cce
/ DEClSlDN ANIJ JUDGMENT t
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eitch erisa sAsT, t.t.c,
Peticioner(sl
Aeiui~isr

GH.ANDISDN, R.AYMOND
HUN'I‘ER. OSHEA
Reepondenb{a)

 

 

Decision_and judgment is rendered based upon
respondents failure to appear for trial as follows:
..ludgment of possession is granted in favor of:
artch ease aas:r, LLC,
and against
oi.'-_tANDIsoN RAYMoNb _
A counterclaim is granted in favor of the respondent in the amount of $D.OO

(Which if not being entered separa ely is offset and reflected in the
total amount due, listed below.)

A money judgment is hereby granted, along with cost and disbursements
in the amount ot $0.00 in favor of:
eeotn-: PARK .EAsT, LLC,
and against
GRANDISON. RAYMON'D i-.-_e._i,g

fcratotei amount of §;$0.00 z

(Monthly use and occupancy is set at_ $0.00 per n'iontii. as per order,
stipulation or decision in record.)

 

 

 

 

 

Warrant to issue as per stipforder Execution 5 C>! C)~t \{r
HON. ELEANOM OFE`%t'l~.
Date Oi 90 C) *
Judge,.€=rii`ii/Housing tlcurt ‘-"

Secticri BOEO(cJ of the Civil Practice Law and Ru|es requires that a satisfaction settled with the
clerk when the judgment is satisfied. i~'~ailure to do so subjects the judgment creditor to penaltiesl

____~_H~_HMMH-»w---»~-m-w~wwwwm~ewm~....._.________,mm
.,.,,,,,.,.,,,_..________________________________.................._______i_________________

ENTRY DF JUDGMENT WMEJL j/GMW\
.iudgment entered in accordance with the above on q `,;Lc'). (.)`j

 

Ci'iiet Clerlt, Civil Court
Warrant issued to Marshal Ul i iOnU€i/Q On DCT 15 mm

GiV»LT-ED(EDDES) Page 1 cf 1

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COURI` OF TI'[E OF NEW YORK

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' Final Judgment for $

 

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COHEN & STAF'iK LLP HEFtEBY AF'F-‘EAR FOFi PET¥T!DNER

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aespcncentt 41 c-\)'t iv\tiltd C..'~<»ncl. it""t 34

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Fiespondent 3

 

  
 

Petition amended to d e

 

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warrant shall issue forthwith H"\

§
E:teculion cf warrant stairsch L"U(Q,g{ U(? \ for payment ct S xi 3 C/ iii . L{ `2_
Payments are to tlrst be applied to curre ri and than to the arrears

Petitioner consents to one DTSC motion for good cause shown by the dependent

 

F"tespondent given complete rent history' in court

C)%\\ts. \.ji,t\itt" i~\n'§ st W“"i'“¢'" *\Jii>i‘wizii»di iti'i*r“ C\i*d qi[KiO/`)

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C)hi-\t‘i j_,an~i-tr“ l_..i_, fY`t\»f\d Qj.rw\'*-Wr~j N\tJ‘i‘-j' “i(i[<“v£ li\_ Q_ct.ir`i' (W\ i.`»tft>
‘¢~¢\/\ M a/lj cit/mir

COHEN di STAFiK. li..l..F"
1325 CASTLE Hli..t, AVE.
BF\C|NX, NY 10462

 

     
 

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mm Him. O i: F§,\’W AFE_ x v“"`\

STIPULATION OF SETTLEMENT

Tha parties mlderslaud thai each party has
fha right tv a lrial, lite right la sea a Judga al any
P\'¢“l`lnlii"l`(S)lP¢lilioncr(s)~ time and tila right nat to enter into a stipulation af
settlement Hawavi:r, after a review af all the issaes,

the parties agree that they do nat want to ga ta trial

against
(i.'*'l(f\&f\é (>J_U“\ l&£,/`
and instead agree la the following stipulation in

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FAIR DEBT COL_LECTION NO"I`IC‘E

TAKE FURTI-IE.R NOTICE, that this firm has been retained to colleet~s debt
consisting of rent nrresrs. Any information obtained will be used for that purpose. The
creditor claims that you owe rent erreers ns Specified. You have thirty (30) days from
receipt of this notice to dispute the debt in writing. lf you fail to do so, we will assume `
the debt to be velid. It" you timely notify us in writing that you do dispute the debt, we
will obtain verification of the debt and mail same to you. Upon your rent request made
within thirty (30) days of the receipt of this notiee, we will provide you with the name
and address of the original creditor, if different from the current ereditor.

This opportunity to dispute the debt is separate from any response that you are
required to make or any action you are required to take With respect to any other legal
notice you receive Pleese respond to any legal notice you may receive within the time
frame set forth in those notices.

COI.-IEN A`ND STARK,, LI.P ATI`ORNEY AT LAW
1325 CASTLE HILL AVEN`UE
BRONX, NY 10462

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TO TENANT State of New Yerk, advise the Clerk immediately, in order to protect your rights~

IMPORTANT - If' you ere dependent upon `a

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AFF:DAVIT oF coNSPICUUUE SWRvICE

-agaj

§ 453

STATE OF NEW YORK ] CASE § LT
COUNTY OF WESTCHESTER } CNTL # 571§9

 

EDDIE H. RIVERA JR.. HEING DULY SWORN, DEPOSES AND SAYS: THAT M
DEPONENT 15 NOT A PARTY TO THIS PROEEEDING, IS A LICENSED PROCESS “%
SERVER OVER 18 YEARB OF AGE AND RESIDES AT HRONK, NEW YORK.

DEPONENT WAS UNABLE TO SERVE: RAYHOND GRANDISON¢
TENANT(S}/OCCUFANT{S) BY PERSONAL DELIVERY.

AT 2322 BRONX PARK EAST BRONH, NY 10467
APT NSZ

GN 03{30/07 AT 11:29 AM DEPONENT SERVRD TEE ATTACHED
NOTICE OF PETITION AND PETITION

{X] BY AFFIXING A TRUE COPY FOR EACH TENANT!OCCUPANT UPON A
CONSPICUQUS PART. TU WIT"THE ENTRANCE DOOR OF SAID PROPERTY.

DEPONENT WAS UNABLE TD FIND h PERHUN DF SUITABLE AGE AND DISCRETIQN
WILLING TO RECEIVE THE SAME AT THIS TIME OR DURING THE PRIDR ATTEMPT
MADE ON 03/29/07 AT 3:24 PM.

AND ON UBFHOFUT DEPONENT SERVED COPIES OF THE WITHIN

NUTICE QF PETITION AND PETITION ON EACH TENANTFOCCUPANT, NOT
FERSONALLY SERVED AT THE PROPERTY SOUGHT TO BE RECOVERED, EY
DEPOSITING A TRUE COPY FOR EACH NAMED TENANTIDCCUPANT OF THE SAME
ENCLDSED IN A PDST PAID
WRAPPER ADDRESEED TD EACH TENANTIOCCUPANT AT THE PROPERTY SGUGHT TO
HE RECOVERED, IN THE POST OFFICE H¥ CERTIFIED MAIL AND EY REGULAR
FIRST CLASS MAIL WITHIN THE STATE DF NEW YORK.

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EDDIE H. RIVERA JR.
LIC.# 1123535

ABOODY
NOTARY PUBLI , STATE OF NEW YORK
NO. 01335014371
QUALIFIED IN WEBTCHESTER COUNTY
COMMISSION EHPIRES JULY 15, 2011

Page 13

 

CaSe 1:1 \/- OZ;IBZ'A‘|_”‘C" UO'C'Um'él`lT“BB -ZQ"FTled”US/ISW Pddé‘l`il"()f 24

 

 

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Respondeme) / 14 /( A%
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Respoudenl has appeared and has orally answered the Petiticn as followe: }/“)/QF/'EC//')
sERVIQF. ¢F\'_.¢ M# 071 "LJ)%

l. 'I'he Reepcndeui did col receive a copy efthc Neliee ol` Pelilien and Petitien.§ jj ...-» LC?‘@
2. The kespcndent received the Notice oi` I’eliiicn end Petitien. but service was net cerre as required by law_

PART!E§

3, 'I'he Rcspoodeol is indiccle&i improperly', by the wrong name, or i_c not indicated on the `N`otiee of Peti\iem and Pel,ition.
4. 'I`he Petitioner is not I.he landlord or Owner of the building or a proper party.

B§[:§'l`
`No rent demand or proper cent demand1 either oral or written, was made before this proceeding
The Respoodenl tried to pay die rent, but the Petiiieoer refused te accept il.
The monthly rent being requested is net the legal rent or die amount em die current lee$e.
The Petitioner owes money to the Respondent because of a rent overcharge
'I`he re:it, or a portion ol`the reol, has already been paid to the Potitioner.

 

ii

APARTMENT
lO. 'I'liere ere conditions in the apartment which needle be repaired endfor services which the Petil'.ienei' bee not provided
llc Public Assislzmce shelter allowance has stopped because of housing eode violations in the comment or the building
12. 'l,"he apartmenl is an illegal apartmenl.

 

OTH.ER
13. l..eclies.
14. Generel Denial.
l$. Dlher zwer,
Dal'.cd w Clerk‘s Hti;ll;im
m

NO'I`ICE DF SCHEDULED PPE RAN
']`l.\is ease is seljuled7 l appear on the calendar as follows :D

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YUU SHOU‘L`D ARRIVE AT THE COUR.THOUSE A'l.` I.EAST ONE HALF HOU'R BEFORE THE ABOVE
SCHEI}ULED "I`IME, TO ALL{}W TIM`E '['U BE PR.DCESSED THRDUGH 'l`HE METAL DE'I'EC'I`ORS. IF A
SE'I"I`LEMENT IS NC|'I` REACHED ON TI{E ABOVE SCHEDULED DA.TE 'I'HE CASE MAY BE SENT '1`0 A '['RIAL-
REA.DY PA.R.'I` FOR A TRIAL. IF YOU WILL NOT BE READY F 011 '[`R.IAL ON TI']'E ABOVE SCI-IEDULED I)A'I'E,
Y(}U MUS'I` ASK THE CDURT FDR ANOTHER TRIAL DATE. IF THE COURT DOES NO'I` ACCEPT YOUR
REASON FOR NOT BEI,NG l`\'.EADY FOR 'I'lUM..., A.ND YOUR REQUEST FOR ANO'I`HER 'l'RIAL I)A.’I`E lS
DENIED, YOU MAY BE REQUIRED TO I'ROC'EED TO TRIAL lMMEDlATELY.

'I'HE CI..ERK CANNOT CHANGE TE[E SCHEDULED DATE DR 'I`IME.

\c'OU MUS'I` APPEAR AND BR.!NG T}'IIS FORM Wl'l`l-I YUU.

 

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Case 1.:16-cV-02134-ALC Document 86-29 Filed 08/18/17 Page 15 of 24

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Page16

 

 

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lndex No. I_. 7

AF["IDA\"IT lN SUFPGR'I OF
AN ORDER TO SHGW CAUSE 'I`O VACATE A JUDGMENT
Baseti Upon a) Faiiure To Appea.t' bi Fai|ure to Comply
and

%/ '1‘0 RESTORE T§ THE CALENDAR; §
ddress: 7L
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. being duly sworn. deposes a&say :

 

 

r
'I`enaot’s initials

l. a) t am the tenant named as respondent in the above summary proceeding. __ /`V M
PARTY b) l am the person claiming possession to these premises and am the ,
of the tenant named above.

 

 

 

 

2. _m I received the Noti\‘.'e of Fr:tition and Petititm in this prueeeding, filed my answer in the Clerit's office and
SERVICE reeeived a date for triai.
one ANSWER l received a Hotdover Noticc of Petition and Petition and the date had airead',-l passed
3. O'lt the Date of 'I`riai before .iudge
EXCUSE al a Jttdg;rnent was entered against me by default for my failure to appeer. My reason for not appearing in

 

 

Court orter (Trtttl) CMotion) is:
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ij r v "-"-.._,`___W_M_,_,_.--" /
4. l allege that l have a good defense because:
DEFEN$E l was improperly served, petitioner is not the tiwt'tet“.
the amount being claimed is incorrect. m no rent was demanded

there is credit due for rent overcharge. the rent has been partially/fully paid."

the rent has been offered and refused. l have been harassed.

there are conditions in the apartment which need pair. or services which have not been prov'ded.
_,..--. y .l

 

 

 

 

*Explain rent payments. if any, or other defense:

 

 

 

\f‘.

5. ` Mi request that the ludgment be vacated, that the case be restored to the calendar and that I be granted
REQUEZ$I' permission to serve these papers in person.

6. S<_Q_i;(; a) 1 have not had a previous Order to Show Cattse regarding this index number.

 

b] l have had a previous Clrder to Show Cause regarding this index number but l am making this further

0 .
RBERJ Wause:

swomm before ms /CU @W 20 dr 7 V( ilQF/:(Qd :j'L/AM

Sigm\`itlre iii Respondent

 

 

 

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Case 1:16-cv-02134-ALC Document 86-29 Filed 08/18/17 Page 18 of 24

   
    
   

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Case 1:16-0-\/- -02134- ALC Document 86- 29 Filed 08/18/17 P of 2
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CIVIL COU“RI` OF THE CITY OF NEW YORK

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little amf the right tmt m enter into rt stipulation r.{f

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Inifio]_r, “"_"‘*"------__r____m_`n_'_'__m_‘__,_..-
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a) l am the tenant named as respondent in the above summary proceeding /
b) l am the person claiming possession of these premises and am the 517 fit l l/l M/`

oft]ie tenant named above.

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b) I have bad a previous Order to Show Cause in this ease but I am making this Further application
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4. Request /

Respondent requests that an Order be entered a) awarding and restoring the respondent to possession of the
subject premises and the' issuance ala warranto l`orthwith. b) awarding treble damages following RPAPL § 853
where appropriate c) granting permission papers in person and d) such other rel iel` as this Court deems

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